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UNITED STATES DISTRICT COURT

DISTRIC'I` OF CONNECTICUT

UNITED STATES OF AMERICA : Docket No. 3:i6cr0124SRU
v.

MITCHELL ANDERSON : AUGUST l, 2016

WAIVER OF SPEEDY TRIAL

The defendant, Mitchell Anderson, hereby waives those rights accorded to him by the
Speedy Trial Act of 1974, 18 U.S.C. § 3161, and the Local Speedy Trial Plan, and requests
that the time period from August 2, 2016 through November 12, 2016 be excluded from
the speedy trial calculations

In support of this Waiver, the defendant states as follows:

(1) he is represented by and has consulted with his attorney concerning this
Waiver;

(2) he understands that by signing this document he Will be giving up those
rights accorded him by the Speedy Trial Act and the Local Speedy Trial Plan; and
(3) he requests that the Court find that the requested continuance is in the best

interest of the defendant, and outweighs the public interest in a speedy trial.

August \ ,2016. /%_`? -

'Mitchell Anderson `

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CERTIFICATE OF SERVICE

I hereby certify that on August 2, 2016 a copy of the foregoing motion Was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

/S_MI_CIMM
Michael Dolan

